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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

CHARLOTTE CHARLES and TIM DUNN,
Individually and as Co-Administrators of the
ESTATE OF HARRY DUNN, and

NIALL DUNN, Individually,
Case No. 1:20-cv-01052

Plaintiffs,
Vv.

ANNE SACOOLAS and JONATHAN
SACOOLAS,

Defendants.
DEFENDANTS’ NOTICE OF CORRECTION TO COURT’S ORDER
COMES NOW, Defendants, Anne Sacoolas and Jonathan Sacoolas, by counsel and for
Notice of Correction to Court’s Order, dated February 16, 2021, state as follows:
On February 16, 2021, the Court issued its written Order on Defendants’ Motion to Dismiss
this action on the grounds of forum non conveniens. The Order included references to facts
“derived from the record in this case” that are “not significantly disputed.”

Pursuant to this Notice of Correction, Defendants seek to correct certain factual recitations

set forth in the Court’s Order, including:

e The Complaint alleges that, although Defendant Anne Sacoolas had a cellphone at the time
of the accident, she did not call an ambulance for Harry Dunn or otherwise seek medical
attention for him at the time. It further appears that a passerby who came upon the scene
shortly after the accident called an ambulance. ECF-23, p. 2.

Correction: After the collision, Anne Sacoolas tried to help Harry Dunn. She spoke with
him and promised to get him medical assistance. She saw another motorist approaching
and flagged her down for support. The other motorist called for the emergency services
while Anne Sacoolas notified the nearby Air Force base. Her priority was to get Harry
Dunn immediate medical attention. UK Ministry of Defence police officers assigned to
the airbase arrived first and assisted Harry Dunn. It was over forty minutes before local
emergency medical personnel arrived on scene.
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Anne Sacoolas cooperated with the police and answered all of their questions, both at the
scene and afterward. She voluntarily submitted to a breathalyzer test at the scene which
recorded a 0.0 blood alcohol reading. She offered her cell phone to the police to confirm
that she was not distracted by texting or talking on the phone.

e Following the accident, on August 28, 2019, Defendant Anne Sacoolas met with United
Kingdom police officers at her home in the United Kingdom to discuss the incident in the
presence of a United States lawyer and a United States Department of State official. In the
course of the meeting, it appears that Defendant Anne Sacoolas assured the police that she
had no plans to leave the United Kingdom. It also appears that no mention was made
during the meeting of the issue of diplomatic immunity for Defendant Anne Sacoolas. EC¥-
23, p. 2.

Correction: The police informed Anne Sacoolas on August 28 that they would be
contacting her to schedule a formal interview at a later date. Jonathan Sacoolas advised
the police that he was anticipating guidance from the Embassy in London because
diplomatic status might become a factor. The police inquired how long Anne Sacoolas
planned to be in the United Kingdom and Jonathan Sacoolas advised that the family had
just arrived for a three year tour. Anne Sacoolas did not know at that time that she would
be leaving the United Kingdom following the discussions regarding diplomatic immunity.
Anne Sacoolas continued to cooperate and was formally interviewed (under caution) by
the police on October 28, 2019.

e It also appears that a series of discussions between representatives of the United States
and United Kingdom governments followed, during which the United Kingdom
representatives sought from the United States government a waiver of Defendant Anne
Sacoolas’ diplomatic immunity for the August 27, 2019 car accident. The United States
government declined to waive diplomatic immunity for the August 27, 2019 car accident
and informed the United Kingdom government that Defendant Anne Sacoolas and her
family would depart the United Kingdom the next day. Despite the strong objection of the
United Kingdom government, Defendant Anne Sacoolas and her family departed the
United Kingdom the next day, on September 15, 2019, ECF-23, p. 3.

Correction: The United Kingdom High Court of Justice opinion explains that “where a
request for a waiver of immunity is refused in cases where an offence has allegedly been
committed, it is standard practice for the individual in respect of whom the request had
been made to be withdrawn (failing which they would ordinarily be declared persona non
grata or not acceptable by the receiving State).”

ANNE SACOOLAS

and

JONATHAN SACOOLAS
By Counsel
Case 1:20-cv-01052-TSE-IDD Document 24

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing Notice of Correction was served via
efiling on this 2" day of March, 2021 on the following:

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